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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA, :
‘ No. 11 Cr. 755 (JFK)
-against-
JOVANNY RODRIGUEZ, ORDER
Defendant. :
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JOHN F. KEENAN, United States District Judge:

On January 5, 2021, Defendant Jovanny Rodriguez requested
additional time to file a memorandum of law in support of his
habeas petition pursuant to 28 U.S.C. § 2255. The request is
GRANTED. Rodriguez’s shall have until February 28, 2021, to
file his memorandum of law. Within sixty days of the date on
which Rodriguez’s memorandum of law is electronically docketed,
the U.S. Attorney’s Office shall file an answer or other
pleadings in response to Rodriguez’s motion. Rodriguez shall
have thirty days from the date on which he is served with the
Government’s answer to file a response. Absent further order,
the motion will be considered fully submitted as of that date.

The Court will mail a copy of this Order to Rodriguez
today.

SO ORDERED.

Dated: New York, New York Nahe / Keen,
CA

 

 

January 12, 2021 John F. Keenan
United States District Judge
